Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 1 of 47 PageID: 2233




  Patrick Trainor, Esquire (Attorney ID 242682019)
  LAW OFFICE OF PATRICK TRAINOR
  848 Paterson Avenue
  East Rutherford, New Jersey 07073
  P: (201) 777-3327
  pt@ptesq.com
  Attorney for Plaintiffs

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   DANIEL D’AMBLY; AARON WOLKIND;
   STEVE HARTLEY; RICHARD SCHWETZ;
   JOBEL BARBOSA; MATTHEW                             CIVIL ACTION NO.: 2:20-cv-12880-JMV-JAD
   REIDINGER; JOHN HUGO; SEAN-
   MICHAEL DAVID SCOTT; THOMAS
   LOUDEN; ZACHARY REHL; AMANDA                        SECOND AMENDED COMPLAINT TO
   REHL; K.R., a minor, by and through her              ADD COUNT FOR VIOLATION OF 18
   father ZACHARY REHL and her mother                 U.S.C. § 530, DEPREVIATION OF RIGHTS
   AMANDA REHL, MARK ANTHONY                           UNDER ACT BY VIOLENCE, SECTION
   TUCCI,                                                    610, LABOR-MANAGEMENT
                                                         RELATIONSHIP DISCLOSURE ACT
                 Plaintiffs,                            (“LMRDA”) AGAINST DEFENDANTS
                                                        CHRISTIAN EXOO, ST. LAWRENCE
          vs.                                            UNIVERSITY, VIJAYA GADDE AND
                                                             TWITTER, INC., UNNAMED
   CHRISTIAN EXOO a/k/a ANTIFASH                                  ASSOCIATES 1-100
   GORDON; ST. LAWRENCE UNIVERSITY;
   TRIBUNE PUBLISHING COMPANY, LLC;                           JURY TRIAL DEMAND
   NEW YORK DAILY NEWS; VIJAYA
   GADDE; TWITTER, INC; COHEN, WEISS
   AND SIMON, LLP; UNNAMED
   ASSOCIATES 1 – 100,

                 Defendants.

         Plaintiffs, Daniel D’Ambly, Aaron Wolkind; Steven Hartley; Richard Schwetz; Jobel

  Barbosa; Matthew Reidinger; John Hugo; Sean-Michael David Scott; Jr.; Thomas Louden;

  Zachary Rehl; Amanda Rehl; K.R. a minor, by and through her father Zachary Rehl and her

  mother Amanda Rehl (hereinafter collectively referred to as “Plaintiffs”) by and through their

  attorney the Law Office of Patrick Trainor, as and for their Complaint against defendants

                                                  1
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 2 of 47 PageID: 2234




  Christian Exoo a/k/a @AntifashGordon, St. Lawrence University, Tribune Publishing Company,

  LLC, New York Daily News, Vijaya Gadde, Twitter, Inc., and Cohen, Weiss, and Simon, LLP,

  hereby alleges as follows:

                                  STATEMENT OF THE CASE

         This action arises out of the repugnant conduct of defendant Christian Exoo (Hereinafter

  “Exoo”), an extortionist, known habitual doxer, and member of Antifa, who associates with

  others to conduct patterns of racketeering activities. Exoo under the Twitter username

  “@AntiFashGordon” directs his associates in the “Exoo Enterprise” to conduct violent and

  extortionate patterns of racketeering activities devoted to “doxing” complete strangers that the

  Exoo Enterprise has labeled “fascists” and/or “white supremacists.” To “dox” someone means to

  publicly disclose a person’s identity, employer, school, home address, etc., for the purpose of

  causing harm to that person. Once the target has been doxed, Exoo directs enterprise associates

  to commence a pattern of violent and threatening emails, Tweets, and phone calls to the target’s

  employers, professional clients, schools, prospective employers, or schools to extort the target’s

  termination from employment, expulsion from school, and compel the targets exit from society.

         To execute their plan, enterprise associates engage in a practice referred to as

  “dogpiling,” which is to conduct an all-out attack on both their target’s employer and co-workers

  by flooding them with emails and phone calls and plastering negative messages and comments

  throughout their entire online footprint, including Google reviews, Facebook posts, LinkedIn

  posts, Twitter, etc., to label the employer a fascist, white supremacist company and the target’s

  co-workers as the same. Associates conspire to ruin the target’s employer’s existing business

  relationships and/or shame prospective clients from conducting business with them until their

  target is terminated.



                                                   2
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 3 of 47 PageID: 2235




           Exoo is aware of the potential illegality of his directives, because he instructs his

  associates to use telephone *67 feature to block their phone numbers when making threatening

  calls.

           On varied dates and times beginning in 2017, Exoo identified Plaintiffs as fascists and

  white supremacists. Thereafter, Exoo directed enterprise associates to stalk Plaintiffs in order to

  learn their true identity. Upon discovering Plaintiffs identity, Exoo directed associates to deluge

  Plaintiffs’ employers with violent Tweets, phone calls, emails that threatened personal and

  physical harm to the employer’s property and co-workers, in order to extort Plaintiffs’

  terminations. Exoo unmistakably directs the enterprise’s patterns of racketeering activities

  through interstate communications.

           One-person hellbent on destroying the lives of other persons, conspires with, participates

  in, and directs an enterprise that engages in patterns of racketeering activities every day by using

  interstate communications to threaten physical violence to extort and cause harm to their target.

  The enterprise’s associates and co-conspirators include, a major religious university, top lawyer

  of a publicly traded corporation and the publicly traded corporation. Enterprise associates are

  motivated by a shared disdain of people labeled fascists and white supremacists.

                                            THE PARTIES

           1.     Daniel D’Ambly (Hereinafter “D’Ambly”), is a twenty-seven (27) year member

  of Local One-L, Graphic Communications Conference of the International Brotherhood of

  Teamsters, who was employed as a was a plate maker for the New York Daily News in Jersey

  City, New Jersey until January 18, 2019. D’Ambly was doxed by Exoo on October 29, 2018. In

  the dox D’Ambly was labeled a ‘fascist’ and/or a ‘white supremacist.’ D’Ambly is a member of

  the New Jersey European Heritage Association (“EHA”), a non-violent, pro-domestic policy



                                                    3
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 4 of 47 PageID: 2236




  organization that the Exoo Enterprise labeled a white supremacist hate group. D’Ambly, who

  the Exoo Enterprise identifies as the leader of EHA, actively participates with other EHA

  members in political rallies, peaceful political protests, pamphleteering, and speech that is

  protected by U.S. Const. amend. I and N.J. Const. art. I, ¶ 6. D’Ambly is an individual

  domiciled in the State of New Jersey and a “person” as defined under 18 U.S.C. § 1961(3).

         2.      Zachary Rehl (“Rehl”) was employed by New York Life Insurance Company in

  Philadelphia when he was doxed by Exoo in or about August 2017, and labeled a fascist and

  white supremacist. Rehl is an individual domiciled in the Commonwealth of Pennsylvania and a

  “person” as defined under 18 U.S.C. § 1961(3).

         3.      Amanda Rehl (“AmRehl”) is the spouse of Zachary Rehl. AmRehl is an

  individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18

  U.S.C. § 1961(3).

         4.      K.R. (“K.R.”), is the minor child of Zachary Rehl and Amanda Rehl. K.R. is an

  individual domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18

  U.S.C. § 1961(3).

         5.      Aaron Wolkind (“Wolkind”) was a Technical Support Specialist for Aerzen USA

  Corporation (“Aerzen”) when he was doxed by Exoo on or about June 2019, and labeled a

  fascist, white supremacist, and a neo-Nazi. Wolkind is an individual domiciled in the State of

  Delaware and a “person” as defined under 18 U.S.C. § 1961(3).

         6.      Steven Hartley (“Hartley”), is a logistics manager for American Expediting

  located in Folcroft, Pa. On November 29, 2018, he was doxed by Exoo and labeled a Nazi, racist

  and white supremacist who was a threat to women and minorities. Hartley is an individual




                                                   4
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 5 of 47 PageID: 2237




  domiciled in the Commonwealth of Pennsylvania and a “person” as defined under 18 U.S.C. §

  1961(3).

         7.     Mark Anthony Tucci (“Tucci”) was employed at Aldo’s Pizzarama in

  Philadelphia when he was doxed by Exoo on December 10, 2018, and labeled a fascist, racist,

  and white supremacist. Tucci is an individual domiciled in the Commonwealth of Pennsylvania

  and a “person” as defined under 18 U.S.C. § 1961(3).

         8.     Richard Schwetz (“Schwetz”) was employed at Inova Payroll in Lancaster, Pa.,

  when he was doxed by Exoo in or about June 2020, and labeled a fascist, racist, and white

  supremacist. Schwetz is an individual domiciled in the Commonwealth of Pennsylvania and a

  “person” as defined under 18 U.S.C. § 1961(3).

         9.     Jobel Barbosa (“Barbosa”) is Puerto Rican and a permanently disabled veteran,

  who was employed as a Detail Department Manager at Jaguar Land Rover Willow Grove, in

  Willow Grove, Pa., when he was doxed by Exoo on June 22, 2019, and labeled a fascist, racist,

  and white supremacist. Barbosa is an individual domiciled in the Commonwealth of

  Pennsylvania and a “person” as defined under 18 U.S.C. § 1961(3).

         10.    Matthew Reidinger (“Reidinger”) was employed in Coal Township, Pa. On

  November 27, 2018, he was doxed by Exoo and labeled a fascist and white supremacist.

  Reidinger is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as

  defined under 18 U.S.C. § 1961(3).

         11.    John Hugo (“Hugo”) was employed as a dispatch manager for Green and Yellow

  Cab in Somerville, Massachusetts when he was doxed by Exoo on January 2, 2020, and labeled a

  fascist and white supremacist. Hugo is an individual domiciled in the Commonwealth of

  Massachusetts and a “person” as defined under 18 U.S.C. § 1961(3).



                                                   5
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 6 of 47 PageID: 2238




         12.     Sean-Michael David Scott (“Scott”) was employed in Seattle, Washington when

  he was doxed by Exoo on September 16, 2019, and labeled a fascist, white supremacist, and anti-

  Semite. Scott is an individual domiciled in the State of Florida and a “person” as defined under

  18 U.S.C. § 1961(3).

         13.     Thomas Louden (“Louden”) is a 30-year volunteer firefighter and the appointed

  Deputy Emergency Management Coordinator for Hilltown Township, Pennsylvania and was

  employed as the Director of Managed Care at Thomas Jefferson University Hospital in

  Philadelphia for twenty-three (23) years when he was doxed by Exoo on November 2, 2020.

  Louden is an individual domiciled in the Commonwealth of Pennsylvania and a “person” as

  defined under 18 U.S.C. § 1961(3).

         14.     Plaintiffs Wolkind, Hartley, Schwetz, Rehl, Barbosa, and Tucci are members of

  the Philadelphia chapter of the Proud Boys (hereinafter “PPB” or “Proud Boys”). Plaintiff

  Reidinger is a member of the Harrisburg chapter of the Proud Boys (“HPB”). The Proud Boys

  are a diverse, multi-racial, multi-ethnic, fraternal, males-only drinking club, who consider

  themselves “western chauvinists.”

         15.     Hugo is the President of Super Happy Fun America, a right of center civil rights

  organization focusing on defending the American Constitution, opposing gender madness, and

  defeating cultural Marxism. Super Happy Fun America is best known for organizing the 2019

  Boston Straight Pride Parade. Hugo was the 2018 Republican Candidate for Massachusetts’ 5th

  Congressional District.

         16.     Defendant Christian Exoo (“Exoo” or “@AntiFashGordon”) is a library building

  supervisor and lecturer at St. Lawrence University. Exoo is a self-described anti-fascist,

  notorious doxer, and leader of Antifa, who by doxing others has acquired a great deal of



                                                   6
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 7 of 47 PageID: 2239




  notoriety and infamy. 10 Exoo currently publishes Tweets under Twitter username

  “@AntiFashGordon.” Exoo is an individual domiciled in the State of New York and a “person”

  as defined under 18 U.S.C. § 1961(3).

         17.     St, Lawrence University (“St. Lawrence” or “STL”) is a private four-year

  university with its principal place of business located at 116 Vilas Hall, 23 Romoda Drive,

  Canton, New York 13617, and a “person” as defined under 18 U.S.C. § 1961(3).

         18.     Tribune Publishing Company (“Tribune”) is a media company organized under

  the laws of the State of Delaware with its principal place of business located at 160 N. Stetson

  Avenue, Chicago, Illinois 60601 that conducts its business throughout the United States, and is a

  “person” as defined under 18 U.S.C. § 1961(3).

         19.     New York Daily News Company (“Daily News”) is owned by the Tribune

  Publishing Company (Tribune and Daily News are sometimes hereinafter referred to collectively

  as “Daily News”) with a place of business located at 125 Theodore Conrad Drive, Jersey City,

  New Jersey 07305, and 4 New York Plaza, New York, NY 10004. The Daily News is a

  “person” as defined under 18 U.S.C. § 1961(3). At all times relevant, the Tribune Publishing

  Company had the right and did exercise control over the actions of the New York Daily News.




  10
     Anti-Fascists Are Waging A Cyber War – And They’re Winning, Medium.com (Sep. 9, 2019)
  https://gen.medium.com/antifas-keyboard-warriors-254f62be2a95 (last accessed Sep. 15, 2020);
  Comcast fires employee with alleged ties to Proud Boys, We the People Rally, PhillyVoice.com
  (November 15, 2018) https://www.phillyvoice.com/comcast-fires-employee-proud-boys-alt-
  right-philadelphia-rally/ (last accessed Sep. 15, 2020); The Right Wing Is Trying to Make It a
  Crime to Oppose Fascism, Truthout.org (Aug. 9, 2019) https://truthout.org/articles/the-right-
  wing-is-trying-to-make-it-a-crime-to-oppose-fascism/ (last accessed Sep. 15, 2020); How to Spot
  An Abuser, Featuring Antifash Gordon, In His Own Words: A Step By Step Guide, and Also
  F*** That Guy, Medium.com (Jun. 25, 2020)
  https://medium.com/@abuse_isnt_revolutionary/how-to-spot-an-abuser-featuring-antifash-
  gordon-in-his-own-abuser-words-7b39f4657b19 (last accessed Sep. 15, 2020).
                                                   7
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 8 of 47 PageID: 2240




         20.     Vijaya Gadde (“Gadde”) is the Head of Legal, Public Policy, and Trust and Safety

  Lead at Twitter, Inc. At all times relevant, Vijaya Gadde was the sole decision maker and person

  authorized to permanently ban Twitter users who violated Twitter’s Terms of Service and Rules.

  She is a “person” as defined under 18 U.S.C. § 1961(3). Gadde is believed to be domiciled in

  the State of California.

         21.     Twitter, Inc. (“Twitter”), is a company organized under the laws of the State of

  Delaware with its principal place of business located at 1355 Market Street, San Francisco, CA

  94103, that conducts its business globally and a “person” as defined under 18 U.S.C. § 1961(3).

         22.     The Exoo Enterprise is a criminal enterprise as defined under 18 U.S.C. §

  1961(4), consisting of Defendant Christian Exoo a/k/a “AntiFashGordon,” who directs the Exoo

  Enterprise, St. Lawrence University, Vijaya Gadde, Twitter, Inc., and unidentified associates.

         23.     Cohen, Weiss, and Simon, LLP (“CWS”) is a law firm with its principal place of

  business located at 900 3rd Avenue, #2100, New York, New York 10022 and a “person” as

  defined under 18 U.S.C. § 1961(3).

                                   JURISDICTION AND VENUE

         24.     Jurisdiction of this Court is proper because this litigation arises under federal law,

  namely 18 U.S.C. §§ 1961 to 1968. This Court has jurisdiction over this matter under 28 U.S.C.

  § 1331.

         25.     The Court has supplemental jurisdiction over the state law claims asserted in this

  case under 28 U.S.C. § 1367(a).

         26.     Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(2) because a

  substantial part of the events or omissions giving rise to the claims occurred in this District, and




                                                    8
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 9 of 47 PageID: 2241




  the threatened and actual harm occurred in this District by reason of Defendants’ conduct as

  alleged below.

                            FACTS PERTINENT TO ALL PLAINTIFFS

         27.       Defendant Exoo publishes Tweets and doxes other persons private and

  undisclosed information under Twitter username “@AntiFashGordon” the leading Antifa Twitter

  account that as of December 30, 2020, has 46,140 followers. The headline of

  @AntiFashGordon’s public profile states “I expose fascists via #OSINT, get them fired, de-

  homed, kicked out of school, etc.” Exoo’s definition of fascists and white supremacists is

  indiscernible, because he uses the terms broadly and interchangeably. Based on the substance of

  @AntiFashGordon’s Tweets he broadly identifies all persons who do not share his radical far left

  political ideology as fascists and/or white supremacists.

         28.       Upon information and belief, Exoo is known to Twitter’s Trust & Safety Council

  (“TSC”) as a habitual doxer and ban evader. A ban evader is a person who creates a new Twitter

  account after receiving a permanent ban. The ban evader’s new account is called a “ban evasion

  account,” and is prohibited by Twitter rules. 12 A permanent ban means a lifetime ban.

         29.       Doxing is prohibited by Twitter’s Private Information Policy within their Terms

  of Service and Rules (“TOS”). 13

         30.       Upon information and belief, in addition to Twitter’s agreement to allow Exoo to

  change username @DoxSavage to @AntiFashGordon, Exoo has had two Twitter accounts




  12
     https://help.twitter.com/en/rules-and-policies/enforcement-options “Permanent suspension:
  This is our most severe enforcement action. Permanently suspending an account will remove it
  from global view, and the violator will not be allowed to create new accounts.”
  13
     https://help.twitter.com/en/rules-and-policies/personal-information “You may not publish or
  post other people’s private information without their express authorization and permission. We
  also prohibit threatening to expose private information or incentivizing others to do so.”
                                                   9
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 10 of 47 PageID: 2242




   permanently banned for doxing. Twitter has previously permanently banned @ChrisExoo, 16

   @ChristianExoo. 17

             31.    Exoo directs associates in an enterprise that uses interstate communications to

   conduct patterns of racketeering activities.

             32.    Of their own volition, Exoo and associates identify persons as Nazis, fascists, and

   white supremacists, which also includes any person Exoo and/or associates label homophobic,

   transphobic, etc. Once a target has been identified Exoo and associates set about to learn the

   personal identity of their unknown targets.

             33.    Once their targets’ identity is discovered, Exoo and associates commence patterns

   of racketeering activities to extort employment terminations and compel school expulsions, by

   directing waves of threatening phone calls, emails, Twitter messages, social media comments at

   the target’s employers, co-workers, and school administrators.

             34.    Enterprise associates “dogpile” their target’s employers and co-workers with calls

   to their direct work phone number and email address with continual calls and emails to every

   employee and co-worker to extort the target’s termination. The practice eliminates a company’s

   ability to conduct business.

             35.    To extort their target’s termination, enterprise associates harm his employer’s

   existing and prospective business relationships by posting a flood of negative comments and

   reviews to the employer’s social media and internet sites to use as leverage to extort their target’s

   termination.




   16
        https://twitter.com/ChrisExoo (last accessed Sep. 15, 2020)
   17
        https://twitter.com/ChristianExoo (last accessed Sep. 15, 2020)
                                                     10
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 11 of 47 PageID: 2243




          36.     When an employer does not immediately terminate their target, Enterprise

   associates directly contact and threaten their target’s employers’ customers to shame them from

   continuing to do business with the target’s employer.

          37.     As a result of Exoo’s dox and direction of an enterprise engaged in threatening

   patterns of racketeering activities as described above, every Plaintiff has received explicitly

   violent threats against their life and the lives of their family, several Plaintiffs were physically

   attacked about their person, sustained damage to their homes and property, and all Plaintiffs were

   terminated from employment due to the enterprise’s patterns of racketeering activities.

                                           DANIEL D’AMBLY

          38.     D’Ambly repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          39.     Upon information and belief, the Exoo Enterprise targeted D’Ambly as a fascist

   and white supremacist at some point in or about January 2018. Thereafter, enterprise associates

   stalked D’Ambly to uncover his true identity, for the sole purpose of doxing him.

          40.     Upon information and belief, by September 2018, Twitter received dozens of

   complaints directly Tweeted to Twitter Support and Twitter Trust and Safety informing them

   that Exoo’s former Twitter account @DoxSavage was aggressively doxing, which forced Twitter

   to investigate the accounts activities. Under Twitter’s normal protocol, accounts being

   investigated for violating the TOS are prevented from Tweeting during the investigation. 20

          41.     Twitter ignored their TOS and allowed @DoxSavage to continue Tweeting during

   their investigation.




   20
     https://help.twitter.com/en/rules-and-policies/enforcement-options (last accessed Sep. 15,
   2020)
                                                     11
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 12 of 47 PageID: 2244




          42.      Upon information and belief, at some point on or about October 1, 2018, Gadde

   and Twitter agreed to allow @DoxSavage to undergo a name change in lieu of a third permanent.

   The unprecedented agreement to allow Exoo’s username change to @AntiFashGordon under

   these circumstances was done to ensure he kept his approximate 15,000 @DoxSavage followers.

          43.      On October 11, 2018, @DoxSavage Tweeted a farewell announcement to his

   followers: “Hey folks—I just underwent a name change from @DoxSavage to @AntiFash

   Gordon. I’ll be back tomorrow to expose more violent fascists who were on the ground in

   Providence on 10/6.” The name change kept the Exoo Enterprise intact, and their ability to

   effectively conduct its patterns of racketeering activities was not harmed.

          44.      On October 29, 2018, at 11:49 a.m., @AntiFashGordon published a massive

   twenty-two count Tweet thread (a thread is a series of related Tweets) that doxed D’Ambly to his

   estimated 20,000 followers. The dox publicly disclosed for the first time D’Ambly’s name,

   hometown, photograph, employer, occupation, employer’s location, multiple telephone numbers

   for his employer, a labor union Referendum Board he chaired, and the names of the other

   Referendum Board members.

          45.      In the dox, @AntiFashGordon labeled D’Ambly a “Nazi” and directed the Exoo

   Enterprise associates to send harassing, intimidating, and threatening phone calls, and Tweets to

   the Daily News’s Twitter username @NYDailyNews, to extort D’Ambly’s termination. Exoo’s

   dox directed:

                a. In the 19th Tweet, @AntiFashGordon directed his associates “stay on top of this,

                   too. If you don’t hear back from @NYDailyNews, keep tweeting at them.” Call

                   their printing facilities in Jersey City at (201) ***-**** (number provided in

                   original Tweet) and warn them about Daniel D’Ambly…”



                                                    12
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 13 of 47 PageID: 2245




                b. A follow up Tweet included a second telephone number for the New York Daily

                   News and a subsequent Tweet included the direct telephone number to

                   D’Ambly’s print shop.

                c. Within minutes the Exoo Enterprise obeyed Exoo’s directive and flooded

                   @NYDailyNews and @Teamsters with Tweets and phone calls that threatened

                   the Daily News with violent attacks if D’Ambly was not terminated.

                d. Upon information and belief, from October 29, 2018, to January 11, 2019, the

                   Exoo Enterprise directed no less than fifty-four (54) threatening Tweets to

                   @Daily News plus an unknown number of threatening phone calls.

                e. D’Ambly was never told of the threats or warned to take safety precautions by

                   anyone from the Daily News or Tribune.

          46.      On October 30, 2018, without warning D’Ambly of the dangerous threats,

   Tribune engaged Insite Risk Management (“Insite”) to investigate D’Ambly. At the conclusion

   of their investigation, Insite produced the “Private Investigation Report” (“Report”) and provided

   it to the Tribune on December 4, 2018. The Report acknowledged @AntiFashGordon’s doxing

   was the impetus for the investigation and confirmed D’Ambly’s association with EHA. The

   Report included videos of D’Ambly and others using imprudent language during political rallies.

          47.      On or before January 8, 2019, EHA posted flyers on public bulletin boards in

   Princeton, New Jersey that announced an “It’s okay to be white” protest march purportedly

   scheduled for January 12, 2019.

          48.      On January 9, 2019, @AntiFashGordon re-Tweeted the “It’s okay to be white”

   march to his associates and again doxed D’Ambly by Tweeting, “If anyone wants their leaders

   name, it’s Dan D’Ambly.”



                                                   13
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 14 of 47 PageID: 2246




          49.     On January 10, 2019, @AntiFashGordon published a second Tweet that

   referenced EHA’s purported march and directed his associates to “show up and shut down” the

   purported march “And please say hi to their leader, Dan D’Ambly for me.”

          50.     On January 10, 2019, D’Ambly was called to an interview with Jean Nechvatal

   (“Nechvatal), Tribune’s Vice President, Talent Management & Learning and James R. Brill

   (“Brill”), Daily News’s Sr. Vice President of Operations. D’Ambly was accompanied at the

   meeting by Union Steward Pete Cairnie. During the meeting, D’Ambly was confronted with

   content of the Report, but not informed of the report’s existence. D’Ambly acknowledged using

   imprudent language in a private conversation during a protest.

          51.     On January 11, 2019, at 10:14 a.m., @AntiFashGordon again directed his

   associates to shut down EHA’s purported January 12, 2019 “It’s okay to be white” march and

   exhorted his associates “if you can, show up and show these pricks that we don’t tolerate hate in

   our streets.” The Tweet included @NYDailyNews and doxed D’Ambly’s hometown again.

   Exoo encouraged violence to shut down the purported protest, but warned “Remember that the

   police won’t protect us here.”

          52.     Upon information and belief, at some point before 10:21 a.m. on January 11,

   2019, Edward Bushey, Sr. Vice President, General Manager, Manufacturing and Distribution at

   Tribune delivered recordings of the death threats to the Daily News. The callers threatened

   D’Ambly and stated the Daily News was responsible for “any violence or blood spilled is also on

   your hands.” One threatening caller’s phone number was captured.

          53.     On January 11, 2019, from 9:30 a.m. to 10:14 a.m., Twitter usernames

   @hubcityantifa, @NYCAntifa, and @Nstricklanded replied via Tweet to @AntiFashGordon’s

   instructions with coded messages that confirmed they followed his instructions and made threats.



                                                  14
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 15 of 47 PageID: 2247




          54.      Upon reason and belief, one of the death threat phone numbers is owned by a

   person who Tweeted mission confirmation to @AntiFashGordon on January 11, 2019.

          55.      On January 11, 2019, at 2:20 p.m., EHA Tweeted that the “It’s okay to be white”

   protest was a prank.

          56.      On January 11, 2019, at 3:30 p.m., D’Ambly was called to a second meeting with

   James Brill, Sr. Vice President of Operations for the Daily News to recap the previous days

   meeting. In the meeting, Brill issued D’Ambly a “Last and Final Warning” that stated the

   “ONLY reason that you are not being terminated immediately is because, thus far, we have not

   determined that your activities with NJEHA has occurred at work and/or derogatory comments

   were made about any co-workers.” The warning continued “should we learn that you engaged in

   any inappropriate speech or behavior in the workplace or with regard to any other employee, or

   if the Company or any of its employees suffer any backlash as a result of your association with

   the NJEHA, your conduct will be considered “work-related” and you will be terminated

   immediately.”

          57.      This meeting with Brill was a pre-text for D’Ambly’s termination. The meeting

   occurred five (5) hours after death threats were received, but Brill did not inform D’Ambly,

   because the Daily News intended to use the threats as evidence the company received “backlash”

   from D’Ambly’s conduct and was the “cause” of D’Ambly’s termination.

          58.      At 4:34 p.m. on January 11, 2019, @AntiFashGordon replied to EHA’s Tweet by

   threatening D’Ambly whereby @AntiFashGordon threatened “Regardless, I’m gonna spend the

   next week wrecking your fucking life, Dan D’Ambly.”

          59.      In the evening of January 11, 2019, the Exoo Enterprise’s extended campaign of

   violent Tweets and threats of physical violence to D’Ambly came to fruition and D’Ambly’s



                                                  15
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 16 of 47 PageID: 2248




   vehicle was “keyed” (scratched) and tires slashed while parked outside of his home on private

   property. An investigation report for a bias incident, criminal mischief, and harassment was filed

   with the South Brunswick Police Department.

          60.     D’Ambly reported to work the following day on January 12, 2019, but was not

   informed of the death threats received the day before.

          61.     On Sunday, January 13, 2019, at 10:16 a.m., five (5) days before D’Ambly’s

   official termination date @AntiFashGordon Tweeted to four of his associates that he “got a

   pretty reliable tip this morning that he’s not at the @NYDailyNews anymore…” in reference to

   D’Ambly.

          62.     On Monday, January 14, 2019, the Daily News called D’Ambly and told him not

   to report to work until informed otherwise.

          63.     On January 16, 2019, during a phone conference with Brill, Nechvatal, and a

   Union representative, D’Ambly was played the recorded death threats and asked to identify the

   caller. D’Ambly was unable to identify the caller, but said it was the behavior of “Antifa types.”

   Brill was scornful of D’Ambly’s inability to identify the caller and blamed him for the threats.

   D’Ambly was terminated during this phone conference.

          64.     On January 23, 2019, Patrick LoPresti, President of Local One-L informed the

   Daily News that they were appealing D’Ambly’s termination pursuant to terms of the Contract.

          65.     On or about January 25, 2019, D’Ambly received his “Termination of

   Employment” letter, signed by Brill, and dated January 22, 2019. The letter informed D’Ambly

   his termination was effective January 18, 2019. The termination letter is imbued with Brill’s

   animus for D’Ambly. In the letter, Brill stated “your choice to take these repulsive actions has

   now put our workplace and employees at risk of counter attacks by Antifa.”



                                                   16
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 17 of 47 PageID: 2249




          66.     The termination letter falsely stated the Daily News learned of the death threats

   on January 14, 2019, contrary to emails that confirm the Daily News learned of the threats on

   January 11, 2019.

          67.     In the termination letter, Brill claimed the death threats received on January 11,

   2019, were the “cause” of D’Ambly’s termination, because the death threats meant D’Ambly

   “brought his activities” into the workplace, therefore, “we deem your actions to be work related

   and are terminating your employment for cause.”

          68.     At some point after January 23, 2019, the Union on behalf of D’Ambly filed a

   grievance with the American Arbitration Association, case number 01-19-0000-7178. The

   Union retained attorneys Thomas Kennedy (“Kennedy”) and Kate M. Swearengen

   (“Swearengen”) of Cohen, Weiss, and Simon, LLP (collectively Kennedy, Swearengen and

   Cohen. Weiss and Simon, LLP shall be referred to as “CWS”) to represent D’Ambly.

          69.     Thereafter, D’Ambly had a phone conference with Kennedy to discuss the case.

   D’Ambly was acquainted with Kennedy for approximately twenty years due to his Union

   activities. D’Ambly explained the threats he received, property damage, and that his tires were

   slashed. D’Ambly stated “Tom, this Antifa are terrorists…” Kennedy angrily responded, “I do

   not consider Antifa to be terrorists and if you are going to continue referring to them (Antifa) as

   terrorists we are going to end this call.” Kennedy scoffed at D’Ambly’s desire to have his

   employment reinstated at the Daily News.

          70.      At some point thereafter, D’Ambly had his first case discussion phone

   conference with Kate Swearengen, who assumed representation. Without prompting,

   Swearengen explicitly informed D’Ambly that “she doesn’t agree with his politics and she




                                                    17
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 18 of 47 PageID: 2250




   doesn’t want to discuss them any further.” Like Kennedy, Swearengen dismissed D’Ambly’s

   wish to have his employment reinstated.

          71.     Kennedy and Swearengen’s revulsion of D’Ambly directed their representation

   and they failed to adequately research basic facts favorable to D’Ambly’s wish to be reinstated.

   CWS ignored Brill’s misrepresentation and veracity of the claimed “cause” of their client’s

   termination.

          72.     CWS failed to adequately investigate the sources of the doxing campaign. Had

   CWS engaged in reasonable investigation of the source of the dox they would have discovered

   @AntiFashGordon’s January 13, 2019, announcement that D’Ambly was terminated, which was

   one day before the Daily News claimed they learned of the “cause” of D’Ambly’s termination.

          73.     On or about July 15, 2019, D’Ambly dejectedly executed the “Separation

   Agreement and Mutual General Release” negotiated by CWS that paid D’Ambly a lump sum

   payment in exchange the Union would withdraw the pending arbitration case with prejudice.

          74.     As a result of Defendants’ misconduct D’Ambly has suffered substantial personal

   and property damage and been severely financially harmed.

                                           ZACHARY REHL

          75.     Rehl repeats and realleges the facts pertinent to all plaintiffs as alleged above in

   paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          76.     Exoo doxed Rehl for the first time on or about August 2, 2017, and labeled him a

   fascist and a white supremacist because Rehl organized a “Back the Blue” march to support

   police officers and first responders in Philadelphia.

          77.     Exoo directed enterprise associates to contact Rehl’s former employer New York

   Life Insurance Company to extort Rehl’s termination. As in all cases, enterprise associates



                                                    18
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 19 of 47 PageID: 2251




   complied with Exoo’s directions and placed threatening calls, emails, and Tweets to New York

   Life Insurance Company.

           78.    Rehl was terminated from New York Life Insurance Company in September

   2017.

           79.    On or about October 1, 2018, Rehl was doxed a second time, when he organized

   the “We the People” event that occurred in Philadelphia on November 17, 2018.

           80.    On November 14, 2018, Exoo followed up his October 1, 2018 dox with

   directions to his associates to counter protest the We the People event. Exoo directed enterprise

   associates to disrupt the event because “fascism is coming and only we can stop it.”

           81.    On November 16, 2018, Exoo decided his community was being attacked,

   because “the city granted rally permits to fascists, and the cops will be there to protect them.”

   Exoo then Tweeted the phrase “Who protects us? We protect us” a battle cry to get his associates

   to attack “We the People” event organizers.

           82.    At 12:41 a.m. on November 17, 2018, Rehl’s safety was endangered when he was

   attacked by an Exoo associate who threw a brick through the front window of Rehl’s home and

   spray painted the word “Nazi” on the front of his home.

                                           AMANDA REHL

           83.    AmRehl repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

           84.    On or about August 2, 2017, Exoo doxed AmRehl’s home address when he doxed

   her husband Zachary Rehl.




                                                    19
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 20 of 47 PageID: 2252




          85.     On or about October 1, 2018, AmRehl’s home address was doxed a second time

   when Exoo doxed her husband Zachary Rehl, because he organized the “We the People” march

   in Philadelphia that occurred on November 17, 2018.

          86.     On November 14, 2018, Exoo directed his associates to counter protest and

   disrupt the We the People the event, because “fascism is coming and only we can stop it.”

          87.     On November 16, 2018, Exoo decided his community was being attacked,

   because “the city granted rally permits to fascists, and the cops will be there to protect them.”

   Exoo then Tweeted the phrase “Who protects us? We protect us” as a battle cry to get his

   associates to attack “We the People” event organizers.

          88.     At 12:41 a.m. on November 17, 2018, AmRehl’s safety was endangered when she

   was assaulted by an Exoo associate who threw a brick through the front window of AmRehl’s

   home and spray painted the word “Nazi” on the front of her home.

      K.R., a minor, by and through her father ZACHARY REHL and mother AMANDA
                                            REHL

          89.     K.R. repeats and realleges the facts pertinent to all plaintiffs as alleged above in

   paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          90.     On or about August 2, 2017, Exoo doxed K.R.’s home address when he doxed her

   father Zachary Rehl.

          91.     On or about October 1, 2018, K.R.’s home address was doxed a second time when

   Exoo doxed K.R.’s father Zachary Rehl, because he organized the “We the People” march in

   Philadelphia that occurred on November 17, 2018.

          92.     On November 14, 2018, Exoo directed his associates to counter protest and

   disrupt the We the People event, because “fascism is coming and only we can stop it.”




                                                    20
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 21 of 47 PageID: 2253




           93.    On November 16, 2018, Exoo decided his community was being attacked,

   because “the city granted rally permits to fascists, and the cops will be there to protect them.”

   Exoo then Tweeted the phrase “Who protects us? We protect us” as a battle cry to get his

   associates to attack “We the People” event organizers.

           94.    At 12:41 a.m. on November 17, 2018, K.R.’s safety was endangered when she

   was assaulted by an Exoo associate who threw a brick through the front window of her home and

   spray painted the word Nazi on the front of her home.

                                         AARON WOLKIND

           95.    Wolkind repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

           96.    Wolkind was doxed in or about June 2019 and called a fascist, white supremacist,

   and Nazi, which is an idiotic assertion, because Aaron’s a Jew.

           97.    On July 3, 2019, Exoo re-posted Exoo’s dox and directed his associates to contact

   Wolkind’s employer Aerzen USA (“Aerzen”) to extort his termination. Immediately enterprise

   associates directed hundreds of phone calls and emails to Wolkind’s employer and his co-

   workers. Aerzen’s social media accounts and internet profiles were flooded with messages

   demanding his termination.

           98.    On November 28, 2019, Exoo re-doxed Wolkind with Aerzen’s direct phone

   number and the reminder to associates to “Use *67 to block your number.”

           99.    The November 28, 2019, dox dramatically increased the volume of messages

   posted to Aerzen’s social media and internet profiles so much so that it created a network

   security concern and caused Aerzen to temporarily shut down their social media and internet

   profiles.



                                                    21
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 22 of 47 PageID: 2254




          100.    The enterprise’s threatening and harassing messages also caused Aerzen’s

   management to close the Coatesville, Pa. building out of fear for employee safety.

          101.    To their credit, Aerzen did not immediately terminate Wolkind, but when

   enterprise associates discovered Wolkind was not terminated, they directed threats at Aerzen’s

   clients demanding they stop doing business Aerzen or face consequences, and harassed and

   intimidated Aerzen’s foreign subsidiaries.

          102.    Wolkind continues to receive threatening and harassing phone calls and the dox

   has prohibited Wolkind from obtaining new employment in his field. Prospective employers

   have cancelled scheduled interviews and pulled job offers when they perform an internet

   background search for Wolkind’s name, because the first listing is Exoo’s dox, which identifies

   him as a fascist, white supremacist, and a Nazi, but as stated above Aaron’s a Jew.

                                          STEVE HARTLEY

          103.    Hartley repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          104.    Hartley was doxed on November 29, 2018, and labeled a Nazi, racist, terrorist and

   a threat to women and minorities. The dox included directives to dogpile Hartley’s employer

   with calls, emails, and Tweets to demand his termination. In the dox, Hartley was identified as

   the president of the Philadelphia Proud Boys.

          105.    As is the pattern, enterprise associates complied with Exoo’s directives and in

   December 2018, associates inundated Hartley’s employer and co-workers with hundreds of

   phone calls and emails and flooded their social media and internet profiles with negative posts

   and reviews. Enterprise associates still contact Hartley’s employer and co-workers with

   threatening and harassing phone calls and emails.



                                                    22
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 23 of 47 PageID: 2255




          106.    Hartley’s home address and personal cell phone were also doxed, and he has

   received hundreds of threatening and harassing phone calls from enterprise associates, including

   direct threats on his life. The threatening and harassing communications continue to this day.

                                       MARK ANTONY TUCCI

          107.    Tucci repeats and realleges the facts pertinent to all plaintiffs as alleged above in

   paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          108.    Exoo doxed Tucci on December 10, 2018, and associates directed harassing and

   threatening phone calls, emails, and Twitter messages to his employer. Enterprise associates

   called his employer more than 600 times on that first night, which effectively shut down the

   restaurant. Tucci’s employer realized what was happening and told callers he was terminated.

          109.    In real time you can see the enterprise’s conspiracy play out in their Tweets.

              a. Exoo doxed Tucci with directions to harass, threaten and intimidate his employer.

              b. Enterprise associates who called Tucci’s employer, Tweeted confirmation to

                  Exoo.

              c. When Tucci’s employer stated Tucci was terminated, enterprise associates relayed

                  that information to Exoo.

          110.    Exoo replied “Thanks for calling in the meantime it’s very likely they’re just

   hoping this blows over, so keep calling, folks!”

          111.    The following day Exoo directed his associates to “keep calling folks” and the

   enterprise continued the assault.

                                        RICHARD SCHWETZ

          112.    Schwetz repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.



                                                      23
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 24 of 47 PageID: 2256




          113.    The enterprise targeted Schwetz after he volunteered to clean up debris and litter

   at a Scott Presler Clean Up America event that occurred in Philadelphia on May 23, 2020.

          114.    As a result of participating in the cleanup event and being photographed with

   other Proud Boys that participated in the cleanup event, Schwetz was doxed in June 2020.

          115.    Enterprise associates directed harassing and threatening phone calls, emails,

   Twitter messages, and social media posts to Schwetz’s co-workers located at the varied locations

   of his then employer Inova Payroll.

          116.    Amidst the initial wave of incoming harassing and threatening phone calls,

   emails, and Twitter messages, an enterprise associate threatened one specific Inova Payroll

   employee by posting a photograph of the employee with her young son.

          117.        The employee had no relationship with Schwetz whatsoever, caused Inova

   Payroll to reasonably fear for its employees’ safety.

          118.    Exoo doxed Schwetz a second time on September 21, 2020, with further

   instructions to enterprise associates to conduct a second round of harassing and threatening

   messages. The threats are still visible on Twitter.

                                       MATTHEW REIDINGER

          119.    Reidinger repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          120.    Exoo doxed Reidinger on November 27, 2018, and instructed his associates to

   direct threatening, harassing, and intimidating phone calls, Tweets, to his employer to demand

   his termination.




                                                    24
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 25 of 47 PageID: 2257




          121.    As is the case with all victims, Exoo directed associates to dogpile Reidinger’s

   employer’s social media sites with negative reviews. In his instructions Exoo admits that they

   recently successfully dogpiled Comcast to extort a termination.

                                          JOBEL BARBOSA

          122.    Barbosa repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          123.    Exoo doxed Barbosa on June 22, 2019, as trans-phobic, because he was

   photographed at Philadelphia’s gay pride parade. As always, Exoo’s directed enterprise

   associates to contact Barbosa’s employer to demand his termination. Associates immediately

   followed Exoo’s directions, including one enterprise associate who left her name and telephone

   number.

          124.    Barbosa’s home address and cell phone numbers for him and his wife were posted

   to a webpage phonezapp.noblog.org (no longer available) and Barbosa’s wife received

   threatening calls on her personal cell phone.

          125.    The number of contacts his former employer received is unknown at this point,

   but the volume was substantial, and Barbosa was immediately called into a meeting with a

   company executive and a human resources representative.

          126.    Barbosa was terminated on June 27, 2019.

                                 SEAN-MICHAEL DAVID SCOTT

          127.    Scott repeats and realleges the facts pertinent to all plaintiffs as alleged above in

   paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          128.    Exoo doxed Scott on September 16, 2019 and his employer publicly confirmed

   his employment termination on September 17, 2019.



                                                    25
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 26 of 47 PageID: 2258




          129.    Exoo associates threatened and intimidated the property manager for Scott’s

   apartment. The property manager was fearful of repercussions and demanded Scott vacate the

   premises.

          130.    On September 17, 2019, Scott’s home was attacked with graffiti and vandalized.

          131.    On April 16, 2020, Scott was attacked at his home for the second time and his

   car’s tires were slashed and windows broken.

                                             JOHN HUGO

          132.    Hugo repeats and realleges the facts pertinent to all plaintiffs as alleged above in

   paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.

          133.    Hugo was doxed by Exoo on January 2, 2020, and as with all of his doxes, Exoo

   labeled Hugo a fascist and white supremacist. Exoo’s dox and call to action to his associates was

   re-Tweeted over 100,000 times.

          134.    Enterprise associates immediately followed Exoo’s directives and made hundreds

   of threatening and harassing phone calls and over 1,000 harassing emails to Hugo’s employer

   demanding Hugo’s termination. As in all cases, the volume of phone calls prevented Hugo and

   his co-workers from performing their jobs. Hugo was terminated in March 2020.

          135.    Hugo continues to receive threatening and harassing phone calls from enterprise

   associates who threaten Hugo that they will never let him work again and will force him to live

   in a box.

    SUPPLEMENTAL PLEADING TO ADD PLAINTIFF THOMAS LOUDEN WHO WAS
        INJURED BY THE ENTERPRISE AFTER THE COMPLAINT WAS FILED

          136.    Louden repeats and realleges the facts pertinent to all plaintiffs as alleged above

   in paragraphs 1 through 37 with the same force and effect as if set forth in detail herein again.




                                                    26
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 27 of 47 PageID: 2259




          137.    The original Complaint in this action was filed on September 21, 2020, and

   Louden was injured after the Complaint was filed in the same series of occurrences or

   transactions after the Complaint was filed. Louden was employed as the Director of Managed

   Care at Thomas Jefferson University Hospital in Philadelphia.

          138.    During a global health emergency and pandemic Exoo doxed Louden’s hospital

   employer on November 2, 2020, and as in all cases associates immediately flooded Louden’s

   employer and co-workers with harassing and threatening phone calls, emails, social media posts.

          139.    Louden who does not have a Twitter account was unaware of Exoo’s dox until he

   was called to a Zoom meeting with his hospital’s Vice-President and a human resources

   representative on November 2, 2020. Louden was quizzed about his membership in a right-wing

   extremist group. Louden is not a member of a right-wing extremist group, he is a 30-year

   volunteer firefighter and the appointed Deputy Emergency Management Coordinator for

   Hilltown Township, Pa.

          140.    On November 3, 2020, Louden learned that Exoo posted photos of his home with

   his car parked in his driveway.

          141.    On November 10, 2020, Exoo re-posted Louden’s personal information with

   explicit directions, including photographs of his home and local street signs, the name of the city,

   and even the longitude and latitude coordinates. Louden, obviously remains fearful for his

   family’s safety. Louden was terminated on December 7, 2020.

                                       CLAIMS FOR RELIEF

                                               COUNT I

           Violation of New Jersey Law Against Discrimination, N.J.S.A. 10:5-1 to – 49
      (as to D’Ambly against Tribune Publishing Company and the New York Daily News)




                                                   27
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 28 of 47 PageID: 2260




          142.    D’Ambly realleges and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 141 with the same force and effect as if set forth in

   detail herein again.

          143.    Defendants Tribune and Daily News are employers as defined in N.J.S.A. 10:5-5.

          144.    D’Ambly is older than forty years (40) old and was an employee as defined in

   N.J.S.A. 10:5-5.

          145.    Defendants Tribune and Daily News discharged D’Ambly due to their enmity

   towards D’Ambly’s racially identifiable associations, whereas, non-white Tribune and Daily

   News employees who participate in racially identifiable associations, are not punished, or

   terminated, violated N.J.S.A. 10:5-12.

          146.    Defendants Tribune and Daily News undertook several pre-textual steps to mask

   D’Ambly’s discriminatory termination:

              a. Tribune hired a private investigation firm to invade D’Ambly’s privacy in an

                  unsuccessful effort to catch D’Ambly engaged in unlawful activity.

              b. In the morning of January 11, 2019, the Daily News received death threats

                  intended to extort D’Ambly’s termination that they did not immediately disclose,

                  because they intended to use the threats pre-textually as the “cause” of D’Ambly’s

                  termination.

              c. In the afternoon of January 11, 2019, the Daily News issued D’Ambly a “Last and

                  Final Warning,” that warned D’Ambly he would be immediately terminated if it

                  were discovered he brought his political activities into the workplace, but they did

                  not inform or warn D’Ambly of the death threats earlier received.

              d. D’Ambly was informed he was terminated on January 16, 2019.



                                                   28
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 29 of 47 PageID: 2261




              e. Subsequently, D’Ambly received a “Termination of Employment” letter dated

                  January 22, 2019, whereby, the Daily News falsely stated they discovered the

                  death threats on January 14, 2019, contrary to indisputable evidence they received

                  the death threats on January 11, 2019, which meant he “brought his activities into

                  the workplace” after he was warned. Daily News cited this fabrication as the

                  “cause” of D’Ambly’s termination.

          147.    As a direct and proximate result of defendants Tribune Publishing Company and

   the New York Daily News racially discriminatory termination, D’Ambly has suffered adverse

   consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,

   equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an

   amount to be determined at trial, but which is in excess of $75,000.00.

                                              COUNT II

                       Tortious Interference with Prospective Economic Benefit
   (as to all Plaintiffs except K.R. against defendant Christian Exoo a/k/a “AntiFashGordon”)

          148.    Plaintiffs reallege and incorporate herein by reference each and every one of the

   allegations contained in paragraphs 1 through 147 with the same force and effect as if set forth in

   detail herein again.

          149.    Plaintiffs were rightfully entitled to pursue lawful employment.

          150.    Plaintiffs reasonably expected their employment to continue into the future and to

   benefit economically from his employment.

          151.    Defendant Exoo knew Plaintiffs were employed and intentionally interfered with

   their prospective economic benefits to be gained from continued employment.

          152.    Defendant Exoo intentionally and unjustifiably interfered with Plaintiffs rights to

   pursue lawful business.

                                                   29
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 30 of 47 PageID: 2262




          153.     Defendant Exoo’s interference caused Plaintiffs employer to terminate their

   employment.

          154.     Plaintiffs have suffered and will continue to suffer irreparable harm in the form of

   damage to his reputation, loss of income and financial hardship as a result of Exoo’s

   interference.

          155.     As a direct and proximate result of defendant Exoo’s interference with Plaintiffs

   prospective economic benefits, Plaintiffs have suffered adverse consequences and continue to be

   damaged. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,

   punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,

   but which is in excess of $75,000.00.

                                               COUNT III

          Intrusion Upon Seclusion – Public Disclosure of Private Personal Information
       (as to all Plaintiffs except for K.R. against Christian Exoo a/k/a “AntiFashGordon”)

          156.     Plaintiffs reallege and incorporate herein by reference each and every one of the

   allegations contained in paragraphs 1 through 155 with the same force and effect as if set forth in

   detail herein again.

          157.     In directing and carrying out a sustained effort to embarrass, defame and publicize

   private facts, including Plaintiffs’ home address and familial relations without their consent,

   Exoo intentionally intruded upon Plaintiffs’ solitude and seclusion.

          158.     By conducting a sustained effort to embarrass, defame and publicize private facts

   including D’Ambly’s home address and familial relations without Plaintiffs’ consent, Exoo

   intentionally intruded upon Plaintiffs’ solitude and seclusion.

          159.     Defendant intentionally intruded on Plaintiffs’ solitude and seclusion in a manner

   that is highly offensive to a reasonable person.

                                                      30
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 31 of 47 PageID: 2263




          160.    As a direct and proximate result of Exoo’s intrusion upon his seclusion, Plaintiffs

   have suffered adverse consequences and continue to be damaged. Plaintiffs are entitled to

   compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable

   attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

                                              COUNT IV

    Violation of N.J.S.A. 2C:33-4.1 and N.J.S.A. 2C:30-31(a) Cyber-Harassment and Stalking
           (as to D’Ambly against defendant Christian Exoo a/k/a “AntiFashGordon”)

          161.    D’Ambly realleges and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 160 with the same force and effect as if set forth in

   detail herein again.

          162.    Defendant Exoo encouraged and incited others to violence against D’Ambly and

   conducted an ongoing campaign that intruded D’Ambly’s life.

          163.    Defendant Exoo intentionally and knowingly sent, commented, and posted

   D’Ambly’s private and involuntarily disclosed personal information to social media networking

   sites to purposely harass, intimidate, and threaten D’Ambly.

          164.    By encouraging others to inflict physical harm to D’Ambly’s person and property.

          165.    By encouraging others to commit crimes against D’Ambly that resulted in

   D’Ambly receiving death threats and sustaining physical damage to his personal property

          166.    As a direct and proximate result of Defendant Exoo’s cyber-harassment and

   stalking D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is

   entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and

   reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of

   $75,000.00.

                                              COUNT V

                                                   31
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 32 of 47 PageID: 2264




                     Violation of 18 U.S.C. § 875(c) – Interstate Communications
          (as to all Plaintiffs against defendant Christian Exoo a/k/a “AntiFashGordon”)

          167.    Plaintiffs reallege and incorporate herein by reference each and every one of the

   allegations contained in paragraphs 1 through 166 with the same force and effect as if set forth in

   detail herein again.

          168.    By using an interactive computer service to intentionally transmit threats of

   physical violence at Plaintiffs via interstate communications.

          169.    By directing an enterprise is engaged in an interstate campaign of violent threats

   against Plaintiffs for the purpose of injuring and endangering Plaintiffs’ personal safety.

          170.    By explicitly threatening Plaintiffs via an interactive computer service Exoo

   transmitted threats in interstate commerce.

          171.    As a direct and proximate result of defendant Exoo’s use of interstate

   communications to threaten and harm Plaintiffs they have suffered adverse consequences and

   continue to suffer adverse consequences. Plaintiffs are entitled to compensatory damages,

   equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an

   amount to be determined at trial, but which is in excess of $75,000.00.

                                               COUNT VI

                                Violation of 18 U.S.C. 2261A(2) –Stalking
          (as to all Plaintiffs against defendant Christian Exoo a/k/a “AntiFashGordon”)

          172.    Plaintiffs reallege and incorporate herein by reference each and every one of the

   allegations contained in paragraphs 1 through 171 with the same force and effect as if set forth in

   detail herein again.

          173.    Exoo used an interactive computer service to surveil and stalk Plaintiffs with the

   intent to harass, intimidate, threaten, and harm Plaintiffs.

                                                     32
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 33 of 47 PageID: 2265




          174.    Exoo stalked Plaintiffs to discover their personal identity and then disseminated

   the information using an interactive computer service with instructions to enterprise associates

   with directions to harass, intimidate, and endanger Plaintiffs personal safety.

          175.    Exoo used an interactive computer service to direct an enterprise to harass,

   intimidate, and threaten others in order to extort Plaintiffs termination from lawful employment.

          176.    Exoo’s conduct caused Plaintiffs to reasonably fear for the safety of themselves

   and their family and caused Plaintiffs to suffer severe emotional and financial distress.

          177.    As a direct and proximate result of defendant Exoo’s stalking in violation of 18

   U.S.C. § 2261A(2) Plaintiffs have has suffered adverse consequences and continue to suffer

   adverse consequences. Plaintiffs are entitled to compensatory damages, equitable and

   declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an amount to be

   determined at trial, but which is in excess of $75,000.00.

                                              COUNT VII

                           Employer’s Breach of its Duty to Warn
   (as to D’Ambly against defendants Tribune Publishing Company and the New York Daily
                                           News)

          178.    D’Ambly realleges and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 177 with the same force and effect as if set forth in

   detail herein again.

          179.    Defendants Tribune and Daily News received a stream of death threats directed at

   D’Ambly over a two and one-half month period, but they never warned D’Ambly.

          180.    Defendants Tribune and Daily News never warned D’Ambly to take

   precautionary measures as he entered or exited the workplace.




                                                    33
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 34 of 47 PageID: 2266




          181.    Defendants Tribune and Daily News did not take steps to increase the safety of

   D’Ambly and other employees as they entered and exited the workplace.

          182.    Defendants Tribune and Daily News did not secure the workplace in order to

   protect D’Ambly and others.

          183.    As he was not aware of the threats, D’Ambly could not take steps to protect

   himself and his property and as a result his property was damaged on January 11, 2019.

          184.    Defendants Tribune and Daily News had a duty to warn their employee he was

   the direct target of the death threats they received.

          185.    As a direct and proximate result of defendants Tribune and Daily News’ failure to

   warn D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is

   entitled to compensatory damages, equitable and declaratory relief, punitive damages, costs, and

   reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of

   $75,000.00.

                                               COUNT VIII

                 Violations of N.J.S.A 2C:41-1 to – 2C:41-6.2 (Racketeering)
   (as to D’Ambly against defendants Christian Exoo a/k/a “AntiFashGordon,” St. Lawrence
             University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

          186.    D’Ambly realleges and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 185 with the same force and effect as if set forth in

   detail herein again.

          187.    The “Exoo Enterprise” is directed by defendant Christian Exoo a/k/a

   “@AntiFashGordon,” and consists of associates St. Lawrence University, including their

   employees and agents, Vijaya Gadde, and Twitter, Inc., including their employees and agents,

   and unknown associates.



                                                     34
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 35 of 47 PageID: 2267




          188.    Defendant Exoo used an interactive computer service to direct the Exoo

   Enterprise’s patterns of racketeering activities as defined by N.J.S.A. 2C:41(a)(1) to extort

   D’Ambly’s termination from the Daily News.

              a. The Exoo Enterprise threatened the Daily News via Tweets and phone calls and

                  related activities prohibited by N.J.S.A. 2C:41-2.

              b. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(h).

              c. Exoo Enterprise committed multiple prohibited by N.J.S.A. 2C:41(a)(1)(bb)

          189.    As a direct result of the Exoo Enterprises patterns of racketeering activities,

   D’Ambly was terminated from his employment.

          190.    As a direct and proximate result of Defendants’ patterns of racketeering activities

   D’Ambly has suffered adverse consequences and continues to be damaged. D’Ambly is entitled

   to compensatory damages, equitable and declaratory relief, punitive damages, costs, and

   reasonable attorneys’ fees in an amount to be determined at trial, but which is in excess of

   $75,000.00.

                                              COUNT IX

                          Violations of 18 U.S.C. §§ 1962(c) – Racketeering
                Multiple violations of RICO predicates 18 U.S.C. §§ 1951 and 1952
       (as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
         Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)

          191.    Plaintiffs reallege and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 190 with the same force and effect as if set forth in

   detail herein again.

          192.    Each of the individuals and entities is a “person” within the meaning of 18 U.S.C.

   § 1961(3) who conducted the affairs of the enterprise, through a pattern of racketeering activity

   in violation of 18 U.S.C. § 1962(c).

                                                   35
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 36 of 47 PageID: 2268




          193.    The Exoo Enterprise is an enterprise within the meaning of 18 U.S.C. 1961(4),

   directed by defendant Christian Exoo a/k/a “@AntiFashGordon,” and consisting of St. Lawrence

   University, including their employees and agents, Vijaya Gadde, and Twitter, Inc., including

   their employees and agents, and unknown associates. The Exoo Enterprise was created to dox

   fascists and white supremacists in order to use the doxed information to conduct patterns of

   racketeering activities to threaten violence, intimidate, harass, and extort others to achieve the

   enterprises mission of causing employment terminations, educational expulsions, physical injury,

   and personal harm to the persons doxed. The Exoo Enterprise functions as an organization and

   continuing unit to effectuate patterns of racketeering activity.

          194.    Upon information and belief, multiple generations of Exoo’s family are or were

   employed by St. Lawrence University and Exoo’s activities are well known to St. Lawrence

   faculty and administrators, who allow Exoo to direct the enterprise from St. Lawrence property,

   from his place of employment, during his normal work hours using St. Lawrence equipment and

   information technology. St. Lawrence consents to Exoo’s use of St. Lawrence property to direct

   the enterprise, and participates in the Exoo Enterprise, because they believe the patterns of

   racketeering activities helps St. Lawrence’s achieve their global mission.

          195.    Exoo uses his employment, teaching, and lecturing at St. Lawrence with the

   consent and approval of St. Lawrence to recruit students to join the Exoo Enterprise as

   associates. In concert with other associates, the Exoo Enterprise, directed by Exoo created and

   maintained systematic links for the common purpose of doxing targeted fascists and white

   supremacists, and then threaten, harass, and extort others to cause harm to their targets.




                                                    36
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 37 of 47 PageID: 2269




          196.    At all times relevant, Gadde was the only Twitter employee authorized to

   permanently ban Twitter users. 23

          197.    Exoo is and was well known to Gadde and Twitter, because Gadde and Twitter

   have twice before permanently banned Exoo due to habitual doxing.

          198.    Gadde and Twitter agreed to associate with the Exoo Enterprise when they

   breached their own TOS to conspire with a recidivist ban evader, and permitted the enterprise

   leader to create ban evasion account “@AntiFashGordon,” which Gadde and Twitter knew was

   purposely created to dox unsuspecting persons, in order to direct associates in patterns of

   racketeering activities.

          199.    Gadde and Twitter associate and participate in the Exoo Enterprise’s patterns of

   racketeering, by virtue of their affirmative decision to allow Exoo, a three-time ban evader and

   known habitual doxer, create a ban evasion account in direct contradiction of their TOS and

   enforcement rules, through which, the Exoo Enterprise conducts its patterns of racketeering.

          200.    Upon information and belief Gadde and Twitter have received hundreds and

   likely thousands of complaints directly to their individual Twitter accounts and through Twitter’s

   TSC regarding the Exoo Enterprise’s doxing. But Gadde and Twitter choose to ignore the

   avalanche of doxing and abusive behavior complaints and refuse to enforce their own policies in




   23
      Meet Vijaya Gadde, an Indian-born Twitter head who decides on blocking tweets, users, The
   Economic Times, (Jan. 16, 2020) https://economictimes.indiatimes.com/tech/internet/meet-
   vijaya-gadde-an-indian-born-twitter-head-who-decides-on-blocking-
   tweets/articleshow/73281445.cms, last accessed September 12, 2020. See also, Twitter’s Top
   Lawyer Is Final Word On Blocking Tweets – Even Donald Trump’s, Bloomberg.com,(Jan. 15,
   2020) https://www.bloomberg.com/news/articles/2020-01-15/twitter-s-gadde-is-final-word-on-
   blocking-tweets-even-trump-s, last accessed September 12, 2020; Meet Twitter’s top lawyer,
   who has the final word on blocking tweets – including Donald Trump’s, Fortune.com, (Jan. 15,
   2020) https://fortune.com/2020/01/15/twitter-top-lawyer-vijaya-gadde-blocks-tweets-donald-
   trump/, last accessed September 12, 2020.
                                                   37
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 38 of 47 PageID: 2270




   order to facilitate the patterns of racketeering activities directed by known ban evasion account,

   @AntiFashGordon.

           201.    Gadde personally participates in, and benefits from the Exoo Enterprise’s patterns

   of racketeering activities, because she has publicly stated her personal disdain for fascists and

   white supremacists, and she is “very, very focused on that…the KKK, the American Nazi Party,”

   because that “was what my parents had to deal with” where she grew up on the Texas-Louisiana

   border. 26 Gadde participates in the Exoo Enterprise, because of an Oresteian desire to avenge

   her parents perceived mistreatment. Gadde and Twitter are the lynchpin of the Exoo Enterprise.

   Without Gadde and Twitter’s consent and participation, the Exoo Enterprise could not conduct

   its patterns of racketeering activities.

           202.    Twitter benefits economically from the Exoo Enterprise’s patterns of racketeering

   activities, because @AntiFashGordon has an extremely large Twitter following, one of the

   largest follower bases of all Twitter users, and the account drives a tremendous amount of

   internet traffic to Twitter. Greater traffic to their site increases Twitter’s ad revenue.

           203.    Twitter benefits socially from the Exoo Enterprise’s patterns of racketeering

   activities because the Exoo Enterprise’s doxing of fascists and white supremacists imparts a

   social benefit on Twitter as it is seen as a defender of “marginalized communities” and provides

   cover for their stated business goal of creating what Twitter describes as “safer” conversations.

           204.    The Exoo Enterprise engages in and affects interstate commerce, because, inter

   alia, it threatens violence to persons and property of others throughout the United States in




   26
     Twitter’s Kayvon Beykpour and Vijaya Gadde: the Code Conference interview (transcript),
   Vox.com (June 27, 2019) https://www.vox.com/recode/2019/6/27/18760444/twitter-kayvon-
   beykpour-vijaya-gadde-kara-swisher-peter-kafka-code-conference-interview-transcript, last
   accessed September 12, 2020.
                                                     38
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 39 of 47 PageID: 2271




   furtherance of a plan that reaches into the several states to disrupt economic activity. The Exoo

   Enterprise has caused severe economic hardship to Plaintiffs and negatively impacted local

   economies throughout the United States.

          205.    Pursuant to and in furtherance of their violent doxing campaign, Defendants

   directed and participated in the affairs of the Exoo Enterprise through patterns of racketeering

   activity, including multiple acts indictable under 18 U.S.C. §§ 1951 (Interference with commerce

   by threats or violence) and 1952 (use of interstate facilities to conduct unlawful activity).

          206.    The conduct of the Exoo Enterprise described above constitutes “racketeering

   activity” within the meaning of 18 U.S.C. § 1961(1). Defendants’ decisions and activity in

   connection with the Exoo Enterprise to routinely conduct its transactions in such a manner

   constitutes “patterns of racketeering activity” within the meaning of 18 U.S.C. § 1961(5).

          207.    By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are liable to

   Plaintiffs for three times the damages sustained, plus the costs of this suit, including reasonable

   attorneys’ fees.

          208.    As a direct and proximate result of Defendants patterns of racketeering activity

   Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an

   amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to

   compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable

   attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

                                               COUNT X

                             Violation of 18 U.S.C. § 1962(d) (Conspiracy)
       (as to all Plaintiffs against defendants Christian Exoo a/k/a “AntiFashGordon,” St.
         Lawrence University, Vijaya Gadde, and Twitter, Inc., the “Exoo Enterprise”)




                                                    39
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 40 of 47 PageID: 2272




           209.    Plaintiffs reallege and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 208 with the same force and effect as if set forth in

   detail herein again.

           210.    Section 1962(d) of RICO provides “shall be unlawful for any person to conspire

   to violate any provisions of subsection (a), (b), or (c) of this section.”

           211.    Defendants have violated 18 U.S.C. § 1962(d) by conspiring to associate and

   participate in the Exoo Enterprise’s patterns of racketeering activities as defined in 18 U.S.C.

   1962(c). The object of this conspiracy is to conduct, direct and participate in, directly or

   indirectly, the Exoo Enterprise’s patterns of racketeering activity.

           212.    Defendants’ have engaged in numerous overt and predicate racketeering acts in

   furtherance of the conspiracy, including threatening, intimidating, and extorting others to cause

   harm to their targets.

           213.    The nature of the above-described acts of Defendants’ and co-conspirators acts in

   furtherance of the conspiracy gives rise to an inference that they not only agreed to the objective

   of an 18 U.S.C. 1962(d) violation, but they were aware that their ongoing extortionate acts have

   been, and are part of an overall pattern of racketeering activity demonstrated through related and

   continuous acts.

           214.    Defendants sought to and have engaged in the commission of, and continue to

   commit overt acts, including the following unlawful racketeering predicate acts:

               a. Multiple instances of interference with commerce by threats of violence in

                   violation of 18 U.S.C. § 1951; and

               b. Multiple instances of use of interstate facilities to conduct unlawful activity

                   violations of 18 U.S.C. § 1952.



                                                     40
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 41 of 47 PageID: 2273




          215.    As a direct and proximate result of Defendants’ multiple overt acts and predicate

   acts in furtherance of the Exoo Enterprise, in violation of 18 U.S.C. § 1962(d), by conspiring to

   violate 18 U.S.C. 1962(c), D’Ambly has been and continues to be injured by Defendants’

   conduct.

          216.    By virtue of these violations of 18 U.S.C. § 1962(d), Defendants are liable to

   D’Ambly for three times the damages sustained, plus the costs of this suit, including reasonable

   attorneys’ fees.

          217.    As a direct and proximate result of Defendants patterns of racketeering activity

   Plaintiffs have suffered adverse consequences and continue to suffer adverse consequences in an

   amount to be determined at trial, but which is in excess of $75,000.00. Plaintiffs are entitled to

   compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable

   attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.

                                              COUNT XI

                                        Negligent Entrustment

              (as to all Plaintiffs against defendants Vijaya Gadde and Twitter, Inc.)

          218.    Plaintiffs reallege and incorporates herein by reference each and every one of the

  allegations contained in paragraphs 1 through 217 with the same force and effect as if set forth in

  detail herein again.

          219.    Exoo is a notorious and infamous doxer, who relies on Twitter to dox

  unsuspecting people and direct his enterprise.

          220.    Due to habitual doxing and abusive behavior, Twitter has previously permanently

  banned two accounts controlled by Exoo, @ChrisExoo and @ChristianExoo.




                                                   41
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 42 of 47 PageID: 2274




          221.    Upon information and belief, Twitter received hundreds of complaints that Exoo

  was habitually doxing under Twitter username @DoxSavage.

          222.    In lieu of a third permanent ban Twitter agreed to allow Exoo to undergo a

  username change from @DoxSavage to @AntifashGordon, contrary to Twitter’s TOS.

          223.     Subsequent to Twitter’s agreement to allow Exoo to change his Twitter username

  to @AntiFashGordon, Vijaya Gadde and Twitter’s Safety Council have received numerous

  doxing complaints.

          224.    Gadde was the only person at Twitter with authority to decide permanent bans

  and she knew Exoo is a habitual doxer, but she ignored that knowledge and agreed to allow him

  to change his username and continue doxing.

          225.    Gadde recklessly ignored Twitter’s TOS against ban evasion accounts and

  allowed Exoo to change his name from @DoxSavage to @AntiFashGordon, thereby, entrusting

  Exoo with the instrumentality to direct the Exoo Enterprise’s patterns of racketeering activities.

          226.     As a direct and proximate result of defendant Gadde and Twitter’s negligent

   entrustment Plaintiffs have suffered adverse consequences and continue to suffer adverse

   consequences. Plaintiffs are entitled to compensatory damages, equitable and declaratory relief,

   punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,

   but which is in excess of $75,000.00.

                                              COUNT XII

                 Breach of Implied Covenant of Good Faith – Promissory Estoppel
              (as to all Plaintiffs against defendants Vijaya Gadde and Twitter, Inc.)

          227.    Plaintiffs reallege and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 226 with the same force and effect as if set forth in

   detail herein again.

                                                   42
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 43 of 47 PageID: 2275




          228.      Defendant Twitter’s TOS prohibit doxing and ban evasion accounts.

          229.      Defendant Twitter created a Trust and Safety Council department to investigate

   TOS violations to remove abusive content and protect others from abusive behaviors of others.

          230.      Twitter created the Trust and Safety Council to prohibit abusive behavior by

   Twitter users and promised victims of abusive behavior would be protected.

          231.      Gadde is the executive in charge of Twitter’s Trust and Safety council, and the

   only person at Twitter with authority to allow Exoo to create a ban evasion account.

          232.      Twitter allowed Exoo to create a ban evasion account fully aware he was a

   habitual doxer, who used Twitter to harm others.

          233.      Exoo as @AntiFashGordon doxed Plaintiffs and violently threatened others with

   violence, including employers and former co-workers in order to extort Plaintiffs’ termination.

          234.      Gadde, Twitter Support and Twitter Trust and Safety received contemporaneous

   complaints that @AntiFashGordon doxed Plaintiffs, but took no action.

          235.      Twitter refused to protect Plaintiffs the Exoo Enterprise’s abusive behavior and

   have not removed Plaintiffs doxed information or banned the Exoo Enterprise, who continue to

   abuse and dox.

          236.      Twitter assumed liability for the harm that flows from defendant Exoo’s doxing

   when they neglected to remove Plaintiffs’ doxed information in violation of their TOS.

          237.      As a direct and proximate result of defendant Gadde and Twitter’s breach of their

   assumed duty to remove Plaintiffs doxed private information Plaintiffs have suffered adverse

   consequences and continue to suffer adverse consequences. Plaintiffs are entitled to

   compensatory damages, equitable and declaratory relief, punitive damages, costs, and reasonable

   attorneys’ fees in an amount to be determined at trial, but which is in excess of $75,000.00.



                                                    43
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 44 of 47 PageID: 2276




                                             COUNT XIII
                                           Legal Malpractice

                 (as to D’Ambly against defendant Cohen, Weiss, and Simon, L.L.P.)

          238.     D’Ambly repeats and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 237 with the same force and effect as if set forth in

   detail herein again.

          239.     As a result of their personal revulsion of D’Ambly and his political beliefs CWS

   failed to adequately represent and protect D’Ambly’s rights.

          240.     Defendant CWS neglected to perform necessary case research, legal research, and

   investigation of the accusations against D’Ambly.

          241.     As a result of CWS’s inadequate legal research and investigation they failed to

   protect D’Ambly from the extortionate and criminal conduct of others.

          242.     As a result of CWS’s failure to adequately investigate D’Ambly’s doxing they

   failed to learn that @AntiFashGordon publicly announced D’Ambly’s termination on January

   13, 2019, which occurred five days before his official termination date, and one day before the

   purported “cause” of his termination was discovered.

          243.     CWS failed to challenge Brill’s blatant misrepresentations regarding the timing of

   the alleged ‘cause’ of D’Ambly’s termination.

          244.     CWS’s revulsion of D’Ambly and his political beliefs caused them to ignore an

   obvious racially discriminatory pre-textual termination spotlighted by the private investigation,

   last and final warning, and falsely claimed cause of D’Ambly’s termination.

          245.     As a direct and proximate result of CWS’s legal malpractice that flowed from

   their firmwide enmity of D’Ambly’s political beliefs D’Ambly has suffered adverse

   consequences and continues to be damaged. D’Ambly is entitled to compensatory damages,

                                                   44
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 45 of 47 PageID: 2277




   equitable and declaratory relief, punitive damages, costs, and reasonable attorneys’ fees in an

   amount to be determined at trial, but which is in excess of $75,000.00.

                                              COUNT XIV

         Deprivation of Rights under Section 610 of the Labor-Management Relationship
                           Disclosure Act (LMRDA), 18 U.S.C. § 530

   (as to D’Ambly against defendants Christian Exoo a/k/a “AntiFashGordon,” St. Lawrence
                 University, Vijaya Gadde, Twitter, Inc., “Exoo Enterprise”)

           246.     D’Ambly repeats and incorporates herein by reference each and every one of the

   allegations contained in paragraphs 1 through 245 with the same force and effect as if set forth in

   detail herein.

           247.     Under Section 610 of the Labor-Management Relationship Disclosure Act

   (“LMRDA”), 18 U.S.C. §530:

            It shall be unlawful for any person through the use of force or violence, or threat
           of the use of force or violence, to restrain, coerce, or intimidate, or attempt to
           restrain, coerce, or intimidate any member of a labor organization for the purpose
           of interfering with or preventing the exercise of any right to which he is entitled
           under the provisions of this Act [LMRDA].

           248.     On or about October 29, 2018, defendant Exoo directed enterprise associates to

   conduct patterns of racketeering activities that threatened violence, use of force, against the

   Daily News and Teamsters, to interfere and prevent D’Ambly from exercising his rights

   provided by the LMRDA and extort his termination from the Daily News.

           249.     On or about October 29, 2018, enterprise associates complied with Exoo’s order

   and commenced patterns of racketeering activities that sent hundreds, and likely thousands of

   threatening phone calls, Tweets, emails, and social media postings at the Daily News and

   Teamsters that threatened violence and the use of force.




                                                    45
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 46 of 47 PageID: 2278




          250.    The enterprise intended to coerce Daily News’ employment decisions and

   Teamsters’ labor representation decision making, in order to interfere and prevent D’Ambly

   from exercising his rights under the LMRDA.

          251.    Enterprises associates intentionally intimidated others by threatening violence,

   use of force, and any “blood spilled” in order to extort D’Ambly employment termination and

   prevent him from exercising his rights under the LMRDA.

          252.    The enterprises’ threats of violence, use of force, and blood shed, intimidated

   others and prevented D’Ambly from exercising his rights provided by the LMRDA.

          253.    The enterprises’ threats of violence, use of force, and blood shed, extorted

   D’Ambly’s termination from the Daily News, which interfered and prevented him from

   exercising the rights provided to him under the LMRDA.

          254.    As a direct and proximate result of the enterprise associates’ patterns of

   racketeering activities that threatened violence, use of force, and “any blood spilled” to

   intimidate and coerce others, D’Ambly has been deprived the ability to exercise the rights

   provided to him under the LMRDA. D’Ambly has suffered adverse consequences and continues

   to be damaged. D’Ambly is entitled to compensatory damages, equitable and declaratory relief,

   punitive damages, costs, and reasonable attorneys’ fees in an amount to be determined at trial,

   but which is in excess of $75,000.00.

                                        PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray for relief as follows:

          1.      Demands judgment against Defendants, jointly and severally, in an amount to be

   determined at trial plus interest, including, but not limited to, all emotional distress, back pay,




                                                     46
Case 2:20-cv-12880-JMV-JSA Document 103-1 Filed 11/30/21 Page 47 of 47 PageID: 2279




   punitive damages, liquidated damages, statutory damages, attorneys’ fees, costs, and

   disbursements, and for such relief as the Court deems just and proper.

               2.     On Plaintiffs’ RICO claims: compensatory damages and enhancement of damages

   Plaintiffs have sustained as a result of Defendants’ conduct as may be permitted under the

   relevant statutes, such amount to be determined at trial, plus Plaintiffs costs in this suit, including

   reasonable attorneys’ fees.

               3.     On Plaintiffs’ tortious interference, intrusion upon seclusion, stalking and

   harassment claims: compensatory and punitive damages in an amount to be determined at trial.

               4.     On D’Ambly’s State claims against the Tribune and Daily News: compensatory

   damages and enhancement of damages he sustained as a result of the Tribune and Daily News’

   conduct as may be permitted under the relevant statutes, such amount to be determined at trial,

   plus Plaintiffs costs in this suit, including reasonable attorneys’ fees.

               5.     On D’Ambly’s legal malpractice claim: compensatory damages to be determined

   at trial.

                                               JURY DEMAND

               Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand trial by

   jury on all issues so triable.

                                                    Respectfully Submitted,
                                                    LAW OFFICE OF PATRICK TRAINOR
                                                    Attorney for Plaintiffs



                                                    ______________________________
   Dated: January 7, 2021                             Patrick Trainor
                                                      848 Paterson Avenue
                                                      East Rutherford, New Jersey 07073
                                                     (201) 777-3327
                                                     pt@ptesq.com

                                                       47
